Case: 4:12-cv-00361-AGF Doc. #: 775 Filed: 05/01/19 Page: 1 of 1 PageID #: 10371


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

SCOTT D. MCCLURG, et al.,                   )
                                            )
               Plaintiffs,                  )
                                            )
         vs.                                )         Case No. 4:12-CV-00361-AGF
                                            )
MALLINCKRODT, INC., et al.,                 )         Lead Case
                                            )
               Defendants.                  )

                                        ORDER

      For good cause shown,

      IT IS HEREBY ORDERED that the motion of TorHoerman Law LLC to establish

a Qualified Settlement Fund and to appoint John Bair as administrator of the Qualified

Settlement Fund is GRANTED. ECF No. 774.



                                                ________________________________
                                                AUDREY G. FLEISSIG
                                                UNITED STATES DISTRICT JUDGE
Dated this 1st day of May, 2019
